 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

Al’s DISCOUNT PLUMBING,
V.
VIEGA LLC

1:19-CV-00159-CCC

WITHDRAWAL OF OBJECTION
Steven F. Helfand filed an objection to the class action settlement. It is Helfand’s
position that he is a class member and had standing to object. Helfand believed that a particular
tool, also made by Viega, and purchased by Helfand, was part of the settlement as well; in
addition to the relevant fitting(s). Because Helfand only purchased one Viega fitting, along with
the tool; his limited purchases from Viega do not warrant either participation in or objection to
the proposed settlement, given this settlement is geared towards more bulk purchasers, with
significant purchases from Viega of corresponding fittings. As such, Helfand’s objection should
be withdrawn. No parties have made any promises of any kind, or offered any form of
consideration to Helfand for the withdrawal of this objection.
This information is submitted under penalty of perjury pursuant to the laws of the United

States of America and the State of California. It is executed in Broward County. Florida.

/S/ ff Tay)
24th day of NOVEMBER, 2020,

Steven F. Helfand

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